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WESTERN DIVISION
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UNITED sTATEs oF AMERICA, CLEHK! U-S- D*Sl" CT'
‘,"-F. U. OF TN, M;`Z`MPHFS

Plaintiff,
v. C;u;t No- OL{-»BSLN

One 1999 Yamaha Banshee ATV Twin 350,
VIN JY43GGW05XA175050, with All
Appurtenances and Attachments Thereon,

One 1999 Yarnaha Banshee ATV Twin 350,
VIN JY43GGO321C024827, with All
Appurtenances and Attachments Thereon,

l\/Iiscellaneous Jewelry,

Defendants.

 

ORDER GRANTING GOVERNMENT’S MOTI()N TO DISMISS COMPLAINT

 

Before the Court is the government’s motion to dismiss the Veritied Complaint of Forfeiture in
this case as moot. This case was previously stayed on the govemrnent’s motion because of the related
criminal case ofUnited States v. Eric Brown, et aI, No. 03-20] 69-B. As it now appears that not only has
that case been resolved, but it has also resulted in the forfeiture of the defendant properties, this action
is now moot.

Therefore, upon motion of the United States, the complaint in the above-styled case is

_D NIELBREEN \
Unit States District lodge

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Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

